                                                                                                       Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
  Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 1 of 12 PageID #: 75
                                                                               22SL-CC05109

                      IN THE CIRCUIT COURT FOR ST. LOUIS COUNTY
                                  STATE OF MISSOURI

SHEILA THOMPSON and DENNIS                     )
THOMPSON,                                      )
                                               )
        Plaintiff,                             )
                                               )
        v.                                     )
                                               )
VINTAGE STOCK, INC.,                           )
                                               )
        Defendant.                             )
                                               )
        Serve registered agent:                )
        Seth Bayless                           )
        202 East 32nd Street                   )
        Joplin, Missouri 64804                 )

                                   CLASS-ACTION PETITION

     Plaintiffs Sheila Thompson and Dennis Thompson bring these claims on behalf of themselves

and everyone else similarly situated against Defendant Vintage Stock, Inc., and allege as follows:

   1.        Plaintiff Sheila Thompson is an induvial who resides in St. Louis County, Missouri.

   2.        Plaintiff Dennis Thompson, the husband of Sheila Thompson, is an induvial who

             resides in St. Louis County, Missouri.

   3.        Defendant Vintage Stock, Inc., is a Missouri corporation, in good standing with the

             Missouri Secretary of State, with stores located throughout the United States, and with

             stores in Chesterfield Mall in St. Louis County, in West County Center in St. Louis

             County, and in Mid-Rivers Mall in St. Charles County.

   4.        Defendant’s registered agent is in Missouri.

   5.        Defendant’s principal office is in Missouri.

   6.        Ms. Thompson has a cell phone for which she uses the cellular telephone number 314-

             681-2861, hereafter, “Plaintiffs’ Cell Phone Number.”

                                                   1
                                                                                                  Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 2 of 12 PageID #: 76




 7.    The account for Plaintiffs’ Cell Phone Number is in the name of Mr. Thompson.

 8.    Plaintiffs use Plaintiffs’ Cell Phone Number for family, household, and residential

       purposes.

 9.    For several years, Defendant has sent text messages to Plaintiffs’ Cell Phone Number

       advertising goods or products for sale at Defendant’s stores. Plaintiffs do not know the

       exact number but there have been dozens of such text messages, including more than

       one in a twelve-month period.

 10.   Here are some of the text messages received on Plaintiffs’ Cell Phone Number.




                                            2
                                                                                                  Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 3 of 12 PageID #: 77




 11.   Plaintiffs never gave Defendant consent to send text messages advertising Defendant’s

       goods or products nor did they ever give Defendant express written consent to send text

       messages to them advertising Defendant’s goods or products nor did they ever give

       Defendant prior express invitation or permission nor sign any written agreement which

       states that Defendant can call or send text messages to Plaintiffs’ Cell Phone Number.

 12.   At all relevant times, Plaintiffs’ Cell Phone Number was registered with the Federal

       Communication Commission’s “Do Not Call Registry.”

 13.   At all relevant times, Plaintiffs’ Cell Phone Number was registered with the Missouri

       “No-Call List,” administered by the Missouri Attorney General.

 14.   Defendant’s text messages to Plaintiffs’ Cell Phone Number were numerous, annoying,

       and buzzed the receiving cell phone, which intruded on Ms. Thompson’s peace,

       privacy, and seclusion.

 15.   On information and belief, Defendant regularly sent text message to thousands of

       people per month advertise Defendant’s goods or products.

 16.   On information and belief, Defendant regularly sent text message to thousands of

       people per month advertising Defendant’s goods or products, without the consent

       required by the Telephone Consumer Protection Act (“TCPA”), 47 U.S.C. § 227 and

       its related regulations, and without the consent required by the Missouri No-Call List

       statutes and regulations.

 17.   Defendant’s transmissions of text messages to Plaintiffs’ Cell Phone Number and the

       Class caused concrete and personalized injury, including unwanted use of Ms.

       Thompson’s and the class’s cell phones, caused the cell phones to make noise and

       vibrate, annoying the recipients, interfered with the recipients’ exclusive use of their


                                            3
                                                                                                     Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 4 of 12 PageID #: 78




       property, cost them time, occupied their cell phones for the period of time required for

       the electronic transmission of the messages, and interfered with their business or

       personal communications and privacy interests.

 18.   Many of Defendant’s illegal text messages were received by Ms. Thompson in St.

       Louis County.

 19.   Personal jurisdiction over Defendant in Missouri is proper because Defendant is

       incorporated in Missouri, the court has general personal jurisdiction over Defendant,

       and Defendant committed tortious conduct in or directed into Missouri.

 20.   Venue is proper in the St. Louis County Circuit Court under § 508.010.2 R.S.Mo.,

       because Ms. Thompson reside in St. Louis County and many of Defendant’s illegal text

       messages were received in St. Louis County, State of Missouri.

                               COUNT I
                 (FEDERAL DO NOT CALL LIST VIOLATIONS)

 21.   Plaintiffs incorporate by reference the allegations of Paragraph 1-20.

 22.   Text messages are considered telephone calls according to the TCPA. Campbell-Ewald

       Co. v. Gomez, 577 U.S. 153, 156 (2016); 30 FCC Rcd. 7961, 7964 n.3, 7978-7979,

       8016-8022 (2015); 18 FCC Rcd. 14014 (2003).

 23.   Defendant’s numerous text messages to Plaintiffs’ Cell Phone Number violated the

       Federal Do Not Call List statute and regulations.

 24.   Defendant’s numerous text messages to Plaintiffs’ Cell Phone Number were done

       willfully or knowingly.

 25.   The proposed Class in Count I is all persons within the United States who, within the

       four years prior to the filing of this Class-Action Petition, (a) received advertising text

       messages sent by Defendant or anyone on Defendant’s behalf to said person’s cellular

                                             4
                                                                                                    Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 5 of 12 PageID #: 79




          telephone number and (b) had not consented to receive such text messages as required

          by law.

 26.      Excluded from the class are Defendant, Defendant’s directors, officers, employees and

          agents, and the judge presiding over this case and the judge’s staff.

 27.      Plaintiffs and the Class are entitled to damages of at least $500 per text message sent

          by Defendant and up to $1,500 per text message if the Court finds that Defendant

          willfully or knowingly violated the TCPA and the Federal Do Not Call List.

 28.      Upon information and belief, there are so many members of the Class, and the Class is

          so geographically diverse, that joinder of all members is impracticable.

 29.      Plaintiffs’ claims are typical of the class they seek to represent.

 30.      Plaintiffs’ claims and the claims of the Class are based on the same legal theories and

          arise from the same unlawful conduct, resulting in the same injury to Plaintiffs and

          members of the Class.

 31.      Questions of law and fact common to the Class include:

              a.      Whether Defendant sent text messages to members of the Class without
       obtaining their prior express written consent, including a signed agreement with the
       disclosures required law;

              b.     Whether the text messages sent by Defendant contain material encouraging
       the purchase Defendant’s goods or products;

              d.     Whether Defendant sent text messages to persons on the Federal Do-Not-
       Call List;

              e.     Whether Plaintiffs’ and the Class are entitled to statutory damages; and

             f.      Whether the Court should award enhanced damages for Defendant’s
       knowing or willful violations of the TCPA and Federal Do Not Call List.

 32.      Plaintiffs will fairly and adequately represent the proposed Class.




                                                 5
                                                                                                            Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
  Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 6 of 12 PageID #: 80




   33.        Plaintiffs have retained counsel experienced in the prosecution of class actions,

              including TCPA class actions.

   34.        Plaintiffs are committed to vigorously prosecuting the claims presented in this

              complaint.

   35.        Neither Plaintiffs nor their counsel have any interests adverse or in conflict with the

              absent class members.

   36.        The questions of law and fact common to the members of the Class predominate over

              any questions of fact affecting any individual member of the Class.

   37.        A class action is superior to other methods for the fair and efficient adjudication of this

              controversy.

   38.        Because the damages suffered by the individual class members may be relatively small

              compared to the expense and burden of litigation, it is impracticable and economically

              infeasible for the Class members to seek redress individually.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

demand judgment in their favor in Count I and against Defendant as follows:

         a.      certify this action as a class action and appoint Plaintiffs as Class representatives;
         b.      appoint the undersigned counsel as Class counsel;
         c.      award damages of $1500 per text message or at least $500 per text message;
         d.      award enhanced damages up to $1,500 per text message;
         e.      enjoin Defendant and its contractors, agents, and employees from continuing to
                 send TCPA-violating or Do Not Call List violating text messages;
         f.      award class counsel reasonable attorneys’ fees and all expenses of this action and
                 require Defendant to pay the costs and expenses of class notice and claim
                 administration;
         g.      award Plaintiffs incentive awards for their efforts expended on behalf of the Class
                 and other relevant factors;
         h.      award Plaintiffs prejudgment interest and costs; and
         i.      grant Plaintiffs all other relief deemed just and proper.



                                                    6
                                                                                                     Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 7 of 12 PageID #: 81




                           COUNT II
        (TELEPHONE CONSUMER PROTECTION ACT VIOLATIONS)

 39.   Plaintiffs restate and incorporate by reference the allegations of Paragraph 1-38.

 40.   On information and belief, Defendant failed to institute procedures for maintaining a

       list of persons who request not to be called.

 41.   Defendant failed to have a written policy, available upon demand, for maintaining a

       do-not-call list.

 42.   Defendant failed to train and inform its personnel engaged in any aspect of

       telemarketing of the existence and use of the do-not-call list.

 43.   Defendant failed to access the Federal Do Not Call register and database, has no

       procedure for doing so, and does not access the Federal Do Not Call database every 30

       days or every three months as required by the regulations of the Federal

       Communications Commission.

 44.   Defendant’s wrongs alleged in this Count were done willfully or knowingly.

 45.   The proposed Class in Count II is all persons within the United States who, within the

       four years prior to the filing of this Class-Action Petition, (a) received advertising text

       messages sent by Defendant or anyone on Defendant’s behalf to said person’s cellular

       telephone number and (b) had not consented to receive such text messages as required

       by law.

 46.   Excluded from the class are Defendant, Defendant’s directors, officers, employees and

       agents, and the judge presiding over this case and the judge’s staff.

 47.   Plaintiffs and the proposed class are entitled to damages of at least $500 per violation

       per text message sent by Defendant and up to $1,500 per violation per text message if

       the Court finds that Defendant willfully or knowingly violated the TCPA.

                                             7
                                                                                                  Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 8 of 12 PageID #: 82




 48.      Upon information and belief, there are so many members of the Class, and the class is

          so geographically diverse, that joinder of all members is impracticable.

 49.      Plaintiffs’ claims are typical of the class they seek to represent.

 50.      Plaintiffs’ claims and the claims of the proposed class are based on the same legal

          theories and arise from the same unlawful conduct, resulting in the same injury to

          Plaintiff and members of the proposed class.

 51.      Questions of law and fact common to the Class include:

              a.      Whether Defendant sent text messages to members of the Class without
       obtaining their prior express written consent, including a signed agreement with the
       disclosures required by law;

              b.     Whether the text messages sent by Defendant contain material encouraging
       the purchase Defendant’s products or services;

              c.     Whether Defendant sent text messages to persons on the Federal Do-Not-
       Call List;

              d.     Whether Defendant failed to institute procedures for maintaining a list of
       persons who request not to be called;

              e.      Whether Defendant failed to have a written policy, available upon demand,
       for maintaining a do-not-call list;

               f.     Whether Defendant failed to train and inform its personnel engaged in any
       aspect of telemarketing of the existence and use of the do-not-call list;

               g.     Whether Defendant failed and fails to access the Federal Do Not Call
       register and database, has no procedure for doing so, and does not access the Federal Do
       Not Call database every 30 days or every three months as required by the regulations of
       the Federal Communications Commission.

              h.     Whether Plaintiffs and the Class are entitled to statutory damages; and

             i.     Whether the Court should award enhanced damages for Defendant’s
       knowing and willful violations of the TCPA and the Federal Do Not Call List.

 52.      Plaintiffs will fairly and adequately represent the proposed Class.




                                                 8
                                                                                                            Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
  Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 9 of 12 PageID #: 83




   53.        Plaintiffs have retained counsel experienced in the prosecution of class actions,

              including TCPA class actions.

   54.        Plaintiffs are committed to vigorously prosecuting the claims presented in this

              complaint.

   55.        Neither Plaintiffs nor their counsel have any interests adverse or in conflict with the

              absent class members.

   56.        The questions of law and fact common to the members of the Class predominate over

              any questions of fact affecting any individual member of the Class.

   57.        A class action is superior to other methods for the fair and efficient adjudication of this

              controversy.

   58.        Because the damages suffered by the individual class members may be relatively small

              compared to the expense and burden of litigation, it is impracticable and economically

              infeasible for the Class members to seek redress individually.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

demands judgment in their favor in Count II and against Defendant as follows:

         a.      certify this action as a class action and appoint Ms. Thompson as Class
                 representatives;
         b.      appoint the undersigned counsel as Class counsel;
         c.      award damages of $1500 per violation per text message or at least $500 per
                 violation per text message;
         d.      award enhanced damages up to $1,500 per violation per text message;
         e.      enjoin Defendant and its contractors, agents, and employees from continuing to
                 send TCPA-violating or Do Not Call List violating text messages;
         f.      award class counsel reasonable attorneys’ fees and all expenses of this action and
                 require Defendant to pay the costs and expenses of class notice and claim
                 administration;
         g.      award Plaintiffs incentive awards for their efforts expended on behalf of the Class
                 and other relevant factors;
         h.      award Plaintiffs prejudgment interest and costs; and

                                                    9
                                                                                                      Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 10 of 12 PageID #: 84




       i.      grant Plaintiffs all other relief deemed just and proper.

                                      COUNT III
                         (MISSOURI NO CALL LIST VIOLATIONS)

 59.        Plaintiffs restate and incorporate by reference the allegations of Paragraph 1-57.

 60.        Defendant has repeatedly text-messaged Plaintiffs’ Cell Phone Number with a

            “Telephone solicitation” as defined by § 407.1095.3 R.S.Mo., encouraging the

            purchase of property or goods.

 61.        The proposed Class in Count III is all persons within the United States who, within the

            two years prior to the filing of this Class-Action Petition, received more than one

            telephone solicitation within any twelve-month period by or on behalf of Defendant, in

            violation of § R.S.Mo.407.1098.

 62.        Excluded from the class are Defendant, Defendant’s directors, officers, employees and

            agents, and the judge presiding over this case and the judge’s staff.

 63.        Plaintiffs and the Class are entitled to statutory damages of $5,000 per text message

            sent by or on behalf of Defendant.

 64.        Upon information and belief, there are so many members of the Class, and the class is

            so geographically diverse, that joinder of all members is impracticable.

 65.        Plaintiffs’ claims are typical of the class they seek to represent.

 66.        Plaintiffs’ claims and the claims of the Class are based on the same legal theories and

            arise from the same unlawful conduct, resulting in the same injury to Plaintiffs and

            members of the Class.

 67.        Questions of law and fact common to the Class include:

              a.      Whether Defendant sent text messages to members of the Class without
       obtaining their prior express written consent, including a signed agreement with the
       disclosures required law;

                                                  10
                                                                                                            Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
 Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 11 of 12 PageID #: 85




                 b.     Whether the text messages sent by Defendant constitute telephone
         solicitations;

                c.         Whether Defendant sent text messages to persons on the Missouri Do-Not-
         Call List;

                 d.        Whether Plaintiffs and the Class are entitled to statutory damages; and

               e.      Whether the Court should award enhanced damages for Defendant’s
         knowing violations of Missouri law.

   68.        Plaintiffs will fairly and adequately represent the proposed Class.

   69.        Plaintiffs have retained counsel experienced in the prosecution of class actions,

              including text-message class actions.

   70.        Plaintiffs are committed to vigorously prosecuting the claims presented in this

              complaint.

   71.        Neither Plaintiffs nor their counsel have any interests adverse or in conflict with the

              absent class members.

   72.        The questions of law and fact common to the members of the Class predominate over

              any questions of fact affecting any individual member of the Class.

   73.        A class action is superior to other methods for the fair and efficient adjudication of this

              controversy.

   74.        Because the damages suffered by the individual class members may be relatively small

              compared to the expense and burden of litigation, it is impracticable and economically

              infeasible for the Class members to seek redress individually.

         WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

demand judgment in Count III in their favor and against Defendant as follows:

         a.      certify this action as a class action and appoint Plaintiffs as Class representatives;
         b.      appoint the undersigned counsel as Class counsel;

                                                    11
                                                                                                        Electronically Filed - St Louis County - December 04, 2022 - 05:06 PM
 Case: 4:23-cv-00042-SRC Doc. #: 6 Filed: 01/11/23 Page: 12 of 12 PageID #: 86




       c.         award damages of $5000 per text message;
       d.         enjoin Defendant and its contractors, agents, and employees from continuing to
                  send Missouri No Call List violating text messages;
       e.         award class counsel reasonable attorneys’ fees and all expenses of this action and
                  require Defendant to pay the costs and expenses of class notice and claim
                  administration;
       f.         award Plaintiffs incentive awards for their efforts expended on behalf of the Class
                  and other relevant factors;
       g.         award Plaintiffs prejudgment interest and costs; and
       h.         grant Plaintiffs all other relief deemed just and proper.


                          DOCUMENT PRESERVATION DEMAND

       Plaintiff demand that Defendant take affirmative steps to preserve all text message logs,

spreadsheets, invoices, records, lists, electronic databases, or other itemization of telephone

numbers associated with Defendant and the communication or transmittal of the text messages

alleged herein.



                                                SCHULTZ LAW GROUP LLC

                                             By__________________________
                                               Robert Schultz, #35329
                                               Ronald J. Eisenberg, #48674
                                               640 Cepi Drive, Suite A
                                               Chesterfield, MO 63005
                                               (636) 537-4645
                                               (636) 537-2599 FAX
                                               rschultz@sl-lawyers.com
                                               reisenberg@sl-lawyers.com

                                                Attorneys for Plaintiffs
                                                Sheila Thompson and Dennis Thompson




                                                  12
